       Case 2:15-cr-00289-JCM-CWH Document 157 Filed 06/21/24 Page 1 of 4




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 4   vegasgoldenlaw@gmail.com

 5   Attorney for Rene Ramirez

 6
                                 UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
 9   UNITED STATES OF AMERICA,                           Case No. 2:15-cr-00289-JCM-CWH
10                  Plaintiff,                           STIPULATION TO CONTINUE
11                                                       REVOCATION HEARING
            v.
                                                         (Fourth Request)
12   RENE RAMIREZ,
13                  Defendant.
14
15          IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
16   United States Attorney, and Joshua Brister, Assistant United States Attorney, counsel for the
17   United States of America, and Yi Lin Zheng, counsel for Rene Ramirez, that the revocation
18   hearing currently scheduled for June 24, 2024 be vacated and set to a date and time convenient
19   to this Court, but no sooner than seven 7) days.
20          The Stipulation is entered into for the following reasons:
21          1.      Mr. Ramirez is scheduled for sentencing on July 8, 2024 in his federal SORNA
22   case, 21-cr-215-JAD-NJK.
23          2.      The parties are prepared to go forward and anticipate Mr. Ramirez will be
24   sentenced that day.
25          3.      Mr. Ramirez’s sentence in the SORNA case will affect defense counsel’s
26   sentencing strategy in this case.
       Case 2:15-cr-00289-JCM-CWH Document 157 Filed 06/21/24 Page 2 of 4




 1          4.      The parties agree to the continuance.
 2          5.      Mr. Ramirez is in custody and does not object to a continuance.
 3          6.      The additional time requested herein is not sought for purposes of delay, but
 4   merely to allow counsel for defendant sufficient time within which to be able to effectively and
 5   complete investigation of the discovery materials provided. Additionally, denial of this request
 6   for continuance could result in a miscarriage of justice.
 7          This is the fourth stipulation to continue filed herein.
 8          DATED: June 17, 2024.
 9                                                     JASON M. FRIERSON
      By /s/ Yi Lin Zheng                              United States Attorney
10    YI LIN ZHENG
      Counsel for Rene Ramirez                         By /s/Joshua Brister
11
                                                       JOSHUA BRISTER
12                                                     Assistant United States Attorney

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       Case 2:15-cr-00289-JCM-CWH Document 157 Filed 06/21/24 Page 3 of 4




 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                            Case No. 2:15-cr-00289-JCM-CWH
 4
                    Plaintiff,                            FINDINGS OF FACT, CONCLUSIONS
 5
                                                          OF LAW AND ORDER
            v.
 6
     RENE RAMIREZ,
 7
                    Defendant.
 8
 9
10                                        FINDINGS OF FACT
11          Based on the pending Stipulation of counsel, and good cause appearing therefore, the
12   Court finds that:
13          1.      Mr. Ramirez is scheduled for sentencing on July 8, 2024 in his federal SORNA
14   case, 21-cr-215-JAD-NJK.
15          2.      The parties are prepared to go forward and anticipate Mr. Ramirez will be
16   sentenced that day.
17          3.      Mr. Ramirez’s sentence in the SORNA case will affect defense counsel’s
18   sentencing strategy in this case.
19          4.      The parties agree to the continuance.
20          5.      Mr. Ramirez is in custody and does not object to a continuance.
21          6.      The additional time requested herein is not sought for purposes of delay, but
22   merely to allow counsel for defendant sufficient time within which to be able to effectively and
23   complete investigation of the discovery materials provided. Additionally, denial of this request
24   for continuance could result in a miscarriage of justice.
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       Case 2:15-cr-00289-JCM-CWH Document 157 Filed 06/21/24 Page 4 of 4




 1                                     CONCLUSIONS OF LAW

 2          The ends of justice served by granting said continuance outweigh the best interest of the
 3   public and the defendant in a speedy trial, since the failure to grant said continuance would be
 4   likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 5   opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
 6   account the exercise of due diligence.
 7                                               ORDER

 8          IT IS FURTHER ORDERED that the revocation hearing is continued to July 12,
 9   2024, at 10:30 a.m.
10          DATED this
                   June____
                         21,day of June, 2024.
                             2024.

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12                                                  UNITED STATES DISTRICT JUDGE

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